Case 3:00-cr-01242-JM     Document 670      Filed 12/13/06    PageID.6501     Page 1 of 2



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  8                         UNITED STATES DISTRICT COURT
  9                      SOUTHERN DISTRICT OF CALIFORNIA
 10    UNITED STATES OF AMERICA,                           CASE NO. 00-CR-01242 JM
                                                           CIVIL NO. 06-CV-00155 JM
 11                                     Plaintiff,
             vs.                                           ORDER DENYING MOTION FOR
 12                                                        DISCOVERY; DENYING MOTION
                                                           FOR APPOINTMENT OF COUNSEL
 13    KIMBERLY BAILEY,
 14                                   Defendant.
 15         Defendant moves to unseal a document filed under seal by her former counsel,
 16   James Warner. Defendant is engaged in a discovery fishing expedition to find potential
 17   evidence that prior counsel, who did not represent her at the time of trial, withheld some
 18   type of undisclosed exculpatory evidence. Defendant fails to cite any authority
 19   permitting post-conviction, post-habeas discovery in the absence of a showing of
 20   substantial need. Accordingly, the motion for discovery is denied.
 21         Defendant also moves to have Debra DiIorio appointed as stand-by counsel to
 22   represent her “for any appearance in court.” (Motion at p.1). The court denies such a
 23   broad request. Although not reflected on the Court Docket in the above referenced
 24   action, the court understands that Defendant has already been appointed stand-by
 25   counsel (Debra DiIorio) by the Magistrate Judge. The scope of representation of stand-
 26   by counsel for Defendant is limited to issues arising from the decision of the
 27   Government or co-defendant Humberto Iribe to call Defendant as a witness at the time
 28   of co-defendant’s trial.


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Case 3:00-cr-01242-JM     Document 670     Filed 12/13/06   PageID.6502     Page 2 of 2



  1         In the event Defendant is called as a witness in the trial of co-defendant
  2   Humberto Iribe, currently calendared for January 29, 2007, the court will again consider
  3   any request related to the appointment of counsel.
  4         IT IS SO ORDERED.
  5   DATED: December 13, 2006
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                                                    Hon. Jeffrey T. Miller
  7                                               United States District Judge
  8   cc: All Parties
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